USCA Case #23-3192   Document #2095993      Filed: 01/23/2025    Page 1 of 3



          UNITED STATES COURT OF APPEALS
        FOR THE DISTRICT OF COLUMBIA CIRCUIT
                 _________________________

                         No. 23-3159 et al.
                     _________________________

UNITED STATES OF AMERICA,                                         Appellee,

          v.

ETHAN NORDEAN, ET AL.,                                          Appellants.


 M OTION TO D ISMISS G OVERNMENT C ROSS -A PPEALS

     Pursuant to Federal Rule of Appellate Procedure 42, the United

States moves to dismiss the government’s cross-appeals in these

consolidated cases. The relevant case names and numbers are:

  • United States v. Nordean, No. 23-3192

  • United States v. Biggs, No. 23-3193

  • United States v. Rehl, No. 23-3194

  • United States v. Tarrio, No. 23-3195

  • United States v. Pezzola, No. 23-3196
USCA Case #23-3192   Document #2095993      Filed: 01/23/2025   Page 2 of 3



                                Respectfully submitted,

                                E DWARD R. M ARTIN , J R .
                                United States Attorney

                                C HRISELLEN R. K OLB
                                Assistant United States Attorney

                                                 /s/
                                D ANIEL J. L ENERZ , DC Bar 888283905
                                Assistant United States Attorney
                                601 D Street, NW
                                Washington, D.C. 20530
                                (202) 252-6829




                                  2
USCA Case #23-3192    Document #2095993      Filed: 01/23/2025   Page 3 of 3



                     C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that I have caused a copy of the foregoing

motion to be served by electronic means, through the Court’s CM/ECF

system, upon counsel for appellants, on this 23rd day of January, 2025.

                                                    /s/
                                 D ANIEL J. L ENERZ
                                 Assistant United States Attorney

    C ERTIFICATE OF C OMPLIANCE WITH R ULE 27( D )

     I HEREBY CERTIFY pursuant to Fed. R. App. P. 27(d)(2)(A)

that the foregoing motion contains 65 words, and therefore complies with

the type-volume limitation of Fed. R. App. P. 27(d)(2)(A). The motion was

prepared in 14-point Century Schoolbook, a proportionally spaced

typeface.

                                                    /s/
                                 D ANIEL J. L ENERZ
                                 Assistant United States Attorney
